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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                     AT MEMPHIS


STATE OF TENNESSEE
                                                                      No. 23-00241 / C2300404
v.                                                                    Division 3
                                                                      AG File #BD0415
DESMOND MILLS, JR.,

       Defendant,


                    MOTION TO MODIFY CONDITIONS OF RELEASE


       COMES NOW Defendant, Desmond Mills, Jr., by and through counsel, who moves this

Honorable Court to modify the conditions of his release as follows:

       That based on the current detention and release order, the defendant’s travel is restricted

to the Western District of Tennessee and the district of West Virginia.

       That the defendant moves the court to modify these conditions by adding the language

“and other travel as approved by the pretrial services officer”.

       That Counsel for the defendant has consulted AUSA, Elizabeth Rogers, and she has no

objection to this modification.

                                                      Respectfully submitted,


                                                      _______________________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served upon AUSA
Elizabeth Rogers via the ECF email system, this the ____ day of October, 2023

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